              Case 3:22-cv-00906-OAW Document 46 Filed 07/27/22 Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF CONNECTICUT
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                                 )
GERARD KARLEN and                )
CARLA KARLEN,                    )
                                 )
     Plaintiffs,                 )
v.                               )    Civil Action No. 3:22-cv-00906-OAW
                                 )
WELLS FARGO BANK, N.A. and       )
WELLS FARGO MORTGAGE             )
BACKED SECURITIES 2007-2 TRUST, )
                                 )
     Defendants.                 )
________________________________ )

                                NOTICE OF APPEARANCE

         Please enter the appearance of Scott G. Ofrias, K&L Gates LLP, State Street

Financial Center, One Lincoln Street, Boston, MA 02111 on behalf of Defendant Wells

Fargo Bank, N.A. (erroneously sued separately as “Wells Fargo Mortgage Backed

Securities 2007-2 Trust”) in the above-captioned action. This appearance is in addition

to the appearance of Sean H. Higgins already on file.

                                                        Defendant,
                                                        Wells Fargo Bank, N.A.
                                                        by its attorney,

                                                        /s/ Scott G. Ofrias
                                                        Scott G. Ofrias (Ct31257)
                                                        Scott.ofrias@klgates.com
                                                        K&L Gates LLP
                                                        State Street Financial Center
                                                        One Lincoln Street
                                                        Boston, MA 02111
                                                        T: 617.951.9234
                                                        F: 617.261.3175
Dated: July 27, 2022




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     Defendants.                 )
________________________________ )

                                CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the CM/ECF system on July 27,

2022 will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF), and a paper copy will be sent by mail to non-registered

participants.

                                           /s/ Scott G. Ofrias
                                           Sean R. Higgins (Ct31257)




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